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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,                    )
                                              )
                      Plaintiff,              )
                                              )   GOVERNMENT’S RESPONSE IN
               v.                             )   OPPOSITION TO DEFENDANT
                                              )   LANE’S POST-TRIAL MOTION FOR
    4. THOMAS KIERNAN LANE,                   )   JUDGMENT OF ACQUITTAL
                                              )
                      Defendant.              )




       The United States of America, by and through its undersigned attorneys, opposes

Defendant Lane’s motion, pursuant to Fed. R. Crim. P. 29(c), to set aside the jury verdict

and acquit Defendant Lane of Count 3 of the Indictment. ECF No. 288. “[T]he jury’s

verdict ‘must be sustained if there is substantial evidence, taking the view most favorable

to the Government, to support it.’” United States v. Mathison, 518 F.3d 935, 939 (8th Cir.

2008) (citing Glasser v. United States, 315 U.S. 60, 80 (1942)). “There is substantial

evidence if any rational trier of fact could find each element of the crime[] of conviction

beyond a reasonable doubt.” Id. The United States has presented exhaustive evidence as

to each element of Count 3, as set forth in the United States’ prior briefing in response to

the defendants’ earlier Rule 29 motions. See Government’s Response in Opposition to

Defendants’ Motions Under Rule 29, ECF No. 285, pp. 8-11, 16-22; Exhibit 1, ECF No.

285-1, pp. 17-18, 20-23, 28-33; Exhibit 2, ECF No. 285-2, at pp. 116-123, 140-152, 189-
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212. Defendant Lane’s Rule 29(c) motion, therefore, must be denied, as substantial

evidence supports the jury’s verdict.


Dated: March 3, 2022                    Respectfully submitted,


 CHARLES J. KOVATS, JR.                     KRISTEN CLARKE
 Acting United States Attorney              Assistant Attorney General
                                            Civil Rights Division

 /s/ Manda M. Sertich                       /s/ Samantha Trepel
 BY: MANDA M. SERTICH                       BY: SAMANTHA TREPEL
 Assistant U.S. Attorney                    Special Litigation Counsel
 Attorney ID No. 4289039 NY                 Attorney ID No. 992377 DC




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